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IN THE UNITED STATES DISTRICT COURT! “*! 2)
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION 2019 AUG -2 PM 3:02 cT J

   

 

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American Airlines, Inc., ) mn’ corm OF =
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Plaintiff, )
V. )
)
Transport Workers Union of ) Civil Action No. 4:19-CV-00414-A
America, AFL-CIO, International )
Association of Machinists and )
Aerospace Workers, and Airline )
Mechanic and Related Employee )
Association TWU/IAM, )
)
Defendants. )
)

 

DEFENDANTS’ UPDATE TO THE COMPLIANCE DECLARATIONS AND EXHIBITS
FILED ON JULY 30, 2019 AS ECF NO. 127

Pursuant to this Court’s July 10, 2019 Order (ECF No. 111) Defendants Transport
Workers Union of America, AFL-CIO (“TWU”), International Association of Machinists and
Aerospace Workers (“IAM”), and Airline Mechanic and Related Employee Association
TWU/IAM (“Association”) (collectively, Defendants”) respectfully file the following sworn
declarations of Timothy Klima and Gary Peterson updating the Court on the further steps taken
toward compliance with the July 10 Order subsequent to the declarations filed on July 30, 2019

as ECF document number 127.

Tab DESCRIPTION
A. DECLARATION OF TIMOTHY KLIMA
B. | DECLARATION OF GARY PETERSON

Exh. 1 List of aircraft mechanics in attendance at the in-person
meetings conducted from July 30-August 1, 2019 pursuant
to paragraph a of the Modifications to the TRO
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Dated: August 2, 2019

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SANFORD R. DENISON

(Tex. Bar No. 05655560)

Baab & Denison, LLP

6301 Gaston Ave., Suite 550
Dallas, TX 75214

Tel.: (214) 637-0750

Fax.: (214) 637-0730

Email: denison@baabdenison.com

Attorneys for Defendants

MARK RICHARD (pro hac vice)
(Florida Bar No. 305979)

OSNAT K. RIND (pro hac vice)
(Florida Bar No. 958698)

Respectfully Submitted,

JEFFREY A. BARTOS (pro hac vice)
(D.C. Bar No. 435832)
ANTONIA BIRD (pro hace vice)
(Maryland Bar No. 1712130046)
Guerrieri, Bartos & Roma, P.C.
1900 M Street, N.W., Suite 700
Washington, DC 20036

Tel.: (202) 624-7400

Fax.: (202) 624-7420

Email: jbartos@geclaw.com
Email: abird@geclaw.com

Attorneys for Defendants International
Association of Machinists & Aerospace
Workers and Airline Mechanic and Related

CHRISTINA S. GORNAIL (pro hac vice) Employee Association TWU/IAM

(Florida Bar No. 085922)

LUCIA PIVA (pro hac vice)
(Florida Bar No. 305979)

Phillips, Richard & Rind, P.A.

9360 SW 72nd Street, Suite 283
Miami, FL 33173

Tel.: (305) 412-8322

Fax.: (305) 412-8299

Email: mrichard@phillipsrichard.com
Email: orind@phillipsrichard.com
Email: cgornail@philipsrichard.com
Email: lpiva@philipsrichard.com

Attorneys for Defendants Transport Workers
Union of America, ALF-CIO and Airline

Mechanic and Related Employee Association

TWUAAM
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CERTIFICATE OF SERVICE
I certify that on this 2nd day of August 2019 a true and correct copy of the foregoing

document was served on counsel for all parties of record listed below by a means permitted by

Rule 5(b)(2) of the Federal Rules of Civil Procedure CE BAP. ).

SANFQRD R. DENISON
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TAB A.

DECLARATION OF
TIMOTHY KLIMA
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

American Airlines, Inc.,
Plaintiff,

v. Civil Action No. 4:19-CV-00414-A
Transport Workers Union of
America, AFL-CIO, International
Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/IAM,

Defendants.

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DECLARATION OF TIMOTHY KLIMA
Timothy Klima hereby declares, pursuant to 28 U.S.C. § 1746, as follows:

L I submit this Declaration pursuant to the Court’s Order of July 10, 2019 (ECF No.
111) to update the Court on steps taken by IAM and the Association toward compliance with the
requirements of that Order since July 29, 2019, the date my last declaration was executed. (ECF
No. 127, Tab A). I make this Declaration based on my personal knowledge and the records of
IAM and the Association.

Phone Calls (July 10 Order Paragraph (c)).

2. Paragraph (c) of the July 10 Order requires senior IAM leaders to make phone calls to
mechanics who did not attend previously held in-person meetings. [AM and the Association have
obtained from American lists of mechanics scheduled to work the overnight shift and compared

them with the sign-in sheets from those in-person meetings to determine who they should call.
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3. Using a list of phone numbers provided by American, on July 30, 2019, IAM made
the phone calls required by paragraph (c). [AM called over 600 individuals. In order to most
efficiently and effectively make those calls, IAM General Vice President Pantoja recorded a
personal message urging compliance with the Modified TRO, which was delivered through an
automated calling system during the time of day when overnight shift workers were expected to
be at home. The calls were completed by noon local time for all such employees.

Acknowledgement Forms (July 10 Order Paragraph (f)).

4, Paragraph (f) of the July 10 Order requires that “Each of Defendants’ members shall
sign and date an acknowledgement form stating that they have read and understand their
obligation to comply with the modified Temporary Restraining Order upon risk of being
disciplined or fined by Defendants and American.”

5. IAM and the Association have continued the process of having union representatives
meet with employees at their respective stations and provide them with acknowledgment forms
for signature. As of this date, IAM representatives have met with members who work as
mechanics at all shifts at the following stations (using official airport abbreviations) to provide
and collect acknowledgement forms: ATL, CLT, PIT, BOS, DCA, DFW, FLL, IAH, LAS,
MCO, ORD, PHL, PHX, SEA, TPA. One remaining station visit is scheduled to be completed by

the end of this week, with two remaining visits scheduled to be completed by August 7, 2019.

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[Signature Page Follows]
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I declare under penalty of perjury that the foregoing is true and correct. Executed on this

~_ day of August 2019.

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Timothy Klifna7
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TAB B.

DECLARATION OF
GARY PETERSON
Case 4:19-cv-00414-A Document 129 Filed 08/02/19 Page9of14 PagelD 3096

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

American Airlines, Inc.,
Plaintiff,

Vv. Civil Action No. 4:19-CV-00414-A
Transport Workers Union of
America, AFL-CIO, International
Association of Machinists and
Aerospace Workers, and Airline
Mechanic and Related Employee
Association TWU/IAM,

Defendants.

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DECLARATION OF GARY PETERSON

Gary Peterson declares pursuant to 28 USC § 1746 as follows:

L My name is Gary Peterson and I am an adult resident of the State of Texas. |
make this Declaration based on my personal knowledge and on records kept in the normal course
of business by the Transport Workers Union of America, AFL-CIO (“TWU”), the Airline
Mechanic and Related Employee Association TWU/IAM (the “‘Association”), and Locals
affiliated with the TWU. | currently serve as an International Vice President of the Transport
Workers Union of America, AFL-CIO, and I am a member of the Association’s executive
negotiating committee.

2. I submit this Declaration pursuant to the Court’s Order of July 10, 2019, ECF No.
111. This Declaration describes the steps taken subsequent to execution of my previously filed

Declaration, and those which remain to be accomplished.
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3. Defendants have taken the following steps toward compliance with the
provisions of the Modifications to June 14, 2019 Temporary Restraining Order, issued on July
10, 2019:

In-Person Group Meetings (July 10 Order Paragraph (a)).

A meeting with senior TWU leaders pursuant to paragraph a of the Modified TRO took
place with aircraft mechanics on the RON shift at the following Line Maintenance Station on the
date indicated: SJU — July 30, 2019 (Peterson and Mayes present). A list of those aircraft
mechanics who were in attendance at the meeting is attached as Exhibit |. A summary of what
TWU leaders said at the meeting was previously filed with the court.

The July 10 Order allowed American Airlines’ management to attend each of these in-
person meetings, and management did attend the in-person meeting referenced above, which was
held at an American Airlines’ facility.

In-person Group Meetings — Union Officials (July 10 Order paragraph (b)).

A meeting was scheduled to take place at MIA on August 1, 2019. I arrived at MIA from
SJU at approximately 12:40 p.m. on August 1, 2019. I was in attendance and prepared to
conduct the meeting to be held at MIA, until approximately 4:00 p.m., but was unable to because
I did not receive the information that had been requested from American Airlines regarding my
point of contact from MIA.

Phone Calls (July 10 Order Paragraph (c)).

TWU is continuing the process of identifying those employees on the RON shifts who
were unable to attend the meetings held pursuant to paragraph a of the Modified TRO, and is
continuing the process of calling those aircraft mechanics as required by paragraph c of the

Modified TRO. TWU Leadership is also continuing the process of calling TWU union
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representatives who were unable to attend the union-leader meetings pursuant to paragraph b of
the Modified TRO.
Acknowledgement Forms (July 10 Order Paragraph (f)).

Paragraph (f) of the July 10 Order requires that “Each of Defendants’ members shall sign
and date an acknowledgement form stating that they have read and understand their obligation to
comply with the modified Temporary Restraining Order upon risk of being disciplined or fined
by Defendants and American.” TWU local representatives are continuing the process of meeting
with TWU Maintenance and Related workers to provide them with acknowledgement forms for
their signature.

Overnight Productivity Levels (July 10 Order Paragraph (h)).

Paragraph (h) of the Modified TRO requires Defendants to “take all reasonable actions,
including but not limited to communications to their members, to ensure that their members
working at American’s line maintenance stations, within seven days of entry of the modified
Temporary Restraining Order, achieve approximately, in the aggregate, on a 7-day moving
average basis, overnight productivity levels equal to the aggregate status quo overnight
productivity levels achieved in the summer of 2018 of 77.5%.” TWU is complying with this
section through the communications and in-person meetings as described and outlined in the

above paragraphs.

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[Signature Page Follows]
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I DECLARE under penalty of perjury under the laws of the United States that the
foregoing statements are true and correct.

Executed this ¥ day of August, 2019 at Tarrant County, Texas.

lac Ot

Gary Peterson *
Case 4:19-cv-00414-A Documen t129 Filed 08/02/19 Page13o0f14 PagelD 3100

DECLARATION OF
GARY PETERSON

Exhibit 1
Case 4:19-cv-00414-A Document 129 Filed 08/02/19 Page14o0f14 PagelD 3101

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